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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                     AT LOUISVILLE


 ANTHONY ELLIOTT,                                  )
                                                   )
                 PLAINTIFF,                        )
                                                   )
 v.                                                ) Case No. 3:16-cv-00675-RGJ
                                                   )
 LVNV FUNDING, LLC,                                )
                                                   )
                 DEFENDANT.                        )


  REVISED NOTICE OF CLASS ACTION LAWSUIT AND PROPOSED SETTLEMENT

           PLEASE READ THIS NOTICE CAREFULLY. IT EXPLAINS YOUR
               RIGHTS AND OPTIONS TO PARTICIPATE IN A CLASS
                              SETTLEMENT.

                  THIS IS NOT A NOTICE OF A LAWSUIT AGAINST YOU.

      Why did you get this Notice?

      This is a notice of a proposed settlement in a class action lawsuit (the “Lawsuit”). The
      settlement would resolve the Lawsuit, which has been brought on behalf of a Class
      described below. Please read this Notice carefully. It explains the Lawsuit, the
      settlement, and your legal rights, including the process for excluding yourself from the
      settlement, or objecting to the settlement.

      What is this Lawsuit about?

      This Lawsuit was filed against Defendant LVNV Funding, LLC (“LVNV”), claiming
      that it violated state and federal law by attempting to collect court costs to which it
      was not entitled by attempting to collect judgment lien filing fees to which it was not
      entitled; and by attempting to collect garnishment filing fees to which it was not
      entitled. Plaintiff asserts that such acts renders LVNV liable under Kentucky state law
      and the Fair Debt Collection Practices Act (the “FDCPA”). LVNV denies Plaintiff’s
      allegations and asserts that any alleged error was a bona fide error that occurred
      notwithstanding the maintenance of procedures reasonably adapted to avoid such
      errors. In addition, LVNV asserts a number of defenses under state and federal law,
      including, but not limited to, that certain claims are barred by the Rooker-Feldman
      doctrine, collateral estoppel, that Plaintiff cannot state a claim under Kentucky law or
      the FDCPA, and that Plaintiff cannot state a claim for violation of a state civil rule of
      procedure.

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    Why is this a class action?

    In a class action, one or more people, called a “Class Representative” (in this case,
    Anthony Elliott), sue on behalf of people who have similar claims. All of these people
    together are a “Class” or “Class Members.” The Court resolves the issues for all Class
    Members, except for those who exclude themselves from the Class.

    Why is there a settlement?

    Plaintiff, on the one hand, and LVNV, on the other, have agreed to settle the lawsuit to
    avoid the time, risk, and expense of litigating the lawsuit and to achieve a final
    resolution of the disputed claims. Under the proposed settlement, all Class Members
    will receive account adjustments and/or cash payments. The Class Representative and
    his attorneys, who are experienced consumer and class action attorneys, think the
    settlement is best for all Class Members.

    How do you know if your claims are included in the settlement?

    You received this Notice because LVNV’s records identified you as a Class Member.
    That means you appear to fit the description of one or more of the Classes, which the
    Court has certified for settlement as follows:

            a. Class I: “Prejudgment Court Costs Class”

                All consumers against whom LVNV or its respective
                predecessors in interest, agents, employees, attorneys, or
                representatives (collectively, “LVNV”), filed a lawsuit in
                Kentucky, obtained a judgment against the consumer, and
                attempted to collect or did collect via a post-judgment
                garnishment between October 27, 2015 and the date the Court
                signs the order preliminarily approving the Settlement
                Agreement, prejudgment court costs from the consumer
                without filing a bill of costs itemizing the prejudgment court
                costs LVNV attempted to recover, or actually recovered.
                Members of Class I include consumers against whom LVNV
                actually collected prejudgment court costs without filing a bill
                of costs itemizing the costs recovered from the consumer and
                those consumers whom LVNV attempted to, but did not collect
                prejudgment court costs without filing a bill of costs itemizing
                the costs sought to be recovered from the consumer.

            b. Class II: “Judgment Lien Filing Fee and Garnishment Fee Class”

                All consumers against whom LVNV or its respective
                predecessors in interest, agents, employees, attorneys, or
                representatives (collectively, “LVNV”), filed a lawsuit in
                Kentucky, obtained a judgment against the consumer, and


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               attempted to collect or did collect via a post-judgment
               garnishment between October 27, 2015 and the date the Court
               signs the order preliminarily approving the Settlement
               Agreement, a post-judgment filing fee paid by LVNV to file a
               “Notice of Judgment Lien Upon Real Estate” pursuant to a
               judgment entered against the consumer. Members of Class II
               include consumers against whom LVNV actually collected a
               post-judgment filing fee paid by LVNV to file a “Notice of
               Judgment Lien Upon Real Estate” pursuant to a judgment
               entered against the consumer and those consumers against
               whom LVNV attempted to, but did not collect a post-judgment
               filing fee paid by LVNV to file a “Notice of Judgment Lien
               Upon Real Estate” pursuant to a judgment entered against the
               consumer. Members of Class II also include all consumers
               against whom LVNV filed a lawsuit in Kentucky, obtained a
               judgment against the consumer, and attempted to collect or did
               collect via a post-judgment garnishment between October 27,
               2015 and the date the Court signs the order preliminarily
               approving the Settlement Agreement, a post-judgment
               garnishment fee paid by LVNV to either a garnishee or a clerk
               of court to file a garnishment to enforce a judgment entered
               against a consumer. This includes consumers against whom
               LVNV actually collected a post-judgment garnishment fee paid
               by LVNV to file a garnishment to enforce a judgment entered
               against the consumer and those consumers against whom
               LVNV attempted to, but did not collect a post-judgment
               garnishment fee paid by LVNV to file a garnishment to enforce
               a judgment entered against the consumer.

    What does the settlement provide?

    Below, you will find a general overview of how different class members will be
    paid or credited. At the end of this notice, on page 8, you will find specific
    information about your account and what you can expect to receive as a Class
    Member.

    LVNV has agreed to issue credits against the judgments or cash payments as follows:

              A.     Classes I and II: Active Accounts

       Active Accounts: Those members of Classes I and II whose Accounts are active.

              Settlement Benefits (actual damages): LVNV shall credit the
              Class Members’ Judgment Balance with the prejudgment court
              costs and/or post-judgment fees sought to be collected, and any
              payment made by the Class Member that went in total or in part
              to prejudgment court costs and/or post-judgment fees will be


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                reversed and reapplied to the Judgment Balance. Settlement
                Benefits (statutory damages): LVNV shall credit each Class
                Members’ Judgment Balance an additional $75.00.

                B.      Classes I and II: Paid, Settled, or Written Off Accounts

        Paid, Settled, or Written Off Accounts: Those members of Classes I and II whose

 Accounts are paid, settled, or written off.

                Settlement Benefits (actual damages): LVNV shall make a cash
                payment to the Class Members in an amount of any payment
                made by the Class Member that went in total or in part to
                prejudgment court costs and/or post-judgment fees, whether the
                Account was paid, settled, or written off by LVNV. If the Account
                was written off, LVNV agrees that said accounts are forever
                released and permanently uncollectable.

                Settlement Benefits (statutory damages): LVNV shall make an
                additional cash payment of $75.00 to each Class Member.

     For any Class Member who, before the credits set forth above are issued, satisfied the
     judgment entered against them, LVNV will issue to such Class Member a check in the
     amount of the credits they would have been due under the settlement. For Class
     Members whose credits in the settlement would satisfy the judgment against them,
     LVNV will issue a check in the amount of the negative balance after the credits.
     LVNV shall also file a satisfaction of judgment for any judgment paid-in-full through
     the credits provided by the settlement and release any judgment liens.

     LVNV has also agreed to pay the costs associated with settlement notice and
     administration and to pay the total sum of Eighty Thousand Dollars ($80,000) as
     reasonable attorney’s fees and costs through the conclusion and final dismissal of this
     Lawsuit (“Attorney’s Fees and Expense Award”), subject to Court approval. LVNV
     has also agreed to pay Three Thousand Dollars ($3,000) to the Class Representative
     Anthony Elliott (“Representative Plaintiff”), subject to Court approval. Finally, for the
     Representative Plaintiff, LVNV shall file a satisfaction of the final Judgment that was
     entered against the Representative Plaintiff, and LVNV shall file a release of the liens
     recorded as to said final Judgments as to the Representative Plaintiff.

    Other than as set forth herein, judgments against class members shall remain in effect,
    shall not be released, and LVNV shall be entitled to continue collection efforts on said
    judgments although the amounts owed on said judgments shall be reduced by
    implementation of the Settlement Agreement and entry of a Final Judgment.




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    What do you need to do to participate in the settlement?

    Do nothing. If you remain in the Class and if the settlement is approved you will
    receive the benefits due to you under the settlement.

    When will you be paid?

    If the Court approves the Settlement, you will be paid, or your judgment balance will
    be adjusted as soon as practical after the Court order becomes final, estimated to be no
    later than sixty one (61) days after the judgment in the lawsuit has become final. If
    there is an appeal of the settlement, payment will be delayed.

    What rights are you giving up in this settlement?

    Unless you exclude yourself from this settlement, you will be considered a member of
    the Class, which means you give up your right to sue or continue a lawsuit against
    LVNV over the released claims. Giving up your legal claims is called a release.
    Unless you formally exclude yourself from this settlement, you will release your
    claims.

    “Released Claims” are defined in the settlement as any and all claims and causes of
    action, whether known or unknown, that were made or could have been made in the
    Action arising out of or related in any way to LVNV’s efforts to collect on the
    Judgments, including but not limited to those claims arising under the FDCPA or any
    state statute or rule of procedure.

    The “Released Claims” will apply to LVNV and its “Related Parties,” which are
    defined in the settlement as LVNV’s respective predecessors in interest, agents,
    employees, representatives, divisions, affiliates, and any other person or entity sharing
    common control or ownership with LVNV and each of LVNV’s present or former
    employees, officers, directors, shareholders, parents, members, partners, corporations,
    principals, agents, representatives, insurers, attorneys (including collection attorneys
    named or not named as co-defendants in any lawsuit against LVNV, related to work
    said collection attorneys performed to collect the Judgments of any Class Member),
    assignors, assigns, predecessors, predecessors-in-interest, successors, successors-in-
    interest, consultants, vendors, and collection agencies.

    Other than the account adjustments and or cash payments described in this Notice, the
    settlement of this case does not affect any collection lawsuits that may be pending, and
    this settlement does not extinguish or modify LVNV’s rights in any class member’s
    debts.

    For more information on the release, released parties, and released claims, you may
    obtain a copy of the Class Action Settlement Agreement from the United States
    District Clerk for the Western District of Kentucky.




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    Entering an appearance.

    Any class member who desires to enter an appearance pursuant to Rule
    23(c)(2)(B)(iv) must do so by                   , 2019. To do so, you must file with
    the Clerk of Court a written notice of your appearance and you must serve a copy of
    that notice, by mail or hand-delivery, upon Class Counsel and LVNV’s counsel at the
    addresses set forth below.

    Excluding yourself from the settlement.

    You may exclude yourself from the settlement, in which case you will receive nothing
    from the settlement. If you wish to exclude yourself from (opt out of) the Class(es)
    and the proposed Settlement, you must mail a written request for exclusion to Class
    Counsel and LVNV’s Counsel postmarked no later than ___________, 2019. In any
    such written request for exclusion, you must include your full name, current address,
    telephone number, the name and caption of this Action, the last four digits of your
    Social Security number, your signature, together with a statement to the effect that you
    wish to be excluded from or opt out of the Class(es). Any such written request for
    exclusion must be sent to Class Counsel and LVNV’s Counsel at the following
    addresses:


       Class Counsel:                               James H. Lawson, Esq.
                                                    Lawson at Law, PLLC
                                                    115 S. Sherrin Ave., Suite 5
                                                    Louisville, KY 40207

                                                    James R. McKenzie, Esq.
                                                    James R. McKenzie Attorney, PLLC
                                                    115 S. Sherrin Ave., Suite 5
                                                    Louisville, KY 40207

       LVNV’s Counsel:                              Gregory S. Berman, Esq.
                                                    Jordan M. White, Esq.
                                                    WYATT, TARRANT & COMBS, LLP
                                                    500 West Jefferson Street, Suite 2800
                                                    Louisville, Kentucky 40202-2898


    The request should be signed by you. If any person signs on your behalf that person
    must attach a power of attorney authorizing that signature.

    When and where will the Court decide whether to approve the settlement?

    The Court will hold a Final Fairness Hearing on the ____ day of ________,____,
    at ______, in Louisville, Kentucky, At the Final Fairness Hearing the Court will
    consider whether the proposed settlement is fair, reasonable, and adequate and, if so,


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     whether it should be granted final approval. The Court will hear objections to the
     settlement, if any. The Court may make a decision at that time, postpone a decision, or
     continue the hearing.

     Do you have to attend the hearing?

     No. You are not required to attend the hearing. But you are welcome to attend the
     hearing at your own expense, and you may ask the Court’s permission to speak. You
     cannot speak at the hearing if you have excluded yourself from the settlement. Once
     you have excluded yourself, the settlement does not affect your legal rights.

     What if you want to object to the settlement?

     If you have not excluded yourself from the settlement, you can object to the settlement
     if you do not believe it is fair, reasonable, and adequate. If you wish to object, you
     must either file a formal objection or else send a letter to the Court. Any such
     objection or letter must state: (1) your full name, address, telephone number, and the
     last four digits of our Social Security number; (2) the factual and legal grounds for
     your objection; (3) whether you intend to appear at the Final Fairness Hearing on your
     own behalf or through counsel; and (4) the names, addresses, and phone numbers of all
     witnesses whom you or your attorney intends to call at the Final Fairness Hearing.
     Your formal objection or letter must be accompanied by any evidence you wish to
     introduce to support your objection. Your formal objection or letter must be mailed to
     all of the locations listed below, postmarked by                 , 2019.


  Court                           Class Counsel                       Defense Counsel
  Clerk of Court                  James H. Lawson, Esq.              Gregory S. Berman, Esq.
  United States District Court    Lawson at Law, PLLC 115            Jordan M. White, Esq.
  501 Broadway                    S. Sherrin Ave., Suite 5           WYATT, TARRANT &
  Paducah, KY 42001               Louisville, KY 40207               COMBS, LLP
                                                                     500 West Jefferson Street,
                                  James R. McKenzie, Esq.            Suite 2800
                                  James R. McKenzie Attorney,        Louisville, Kentucky 40202-
                                  PLLC                               2898
                                  115 S. Sherrin Ave., Suite 5
                                  Louisville, KY 40207

     What if you do nothing?

     If you do nothing, you will remain in the Class and be bound by the settlement, if it is
     approved.




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     What will happen if the Court does not approve the settlement?

     If the Court does not approve the settlement, or if it approves the settlement and the
     approval is reversed on appeal, or if the settlement does not become final for some
     other reason, you will receive no benefits and the case will continue. The parties may
     try to negotiate a different settlement or the case may go to trial.

     Who represents the Class?

     The attorneys who have been appointed by the Court to represent the Class are:

          James H. Lawson, Esq.                        James R. McKenzie, Esq.
          Lawson at Law, PLLC                          James R. McKenzie Attorney, PLLC
          115 S. Sherrin Ave., Suite 5                 115 S. Sherrin Ave., Suite 5
          Louisville, KY 40207                         Louisville, KY 40207

     Who represents the Defendant?

          Gregory S. Berman
          Jordan M. White
          WYATT, TARRANT & COMBS, LLP
          500 West Jefferson Street, Suite 2800
          Louisville, Kentucky 40202-2898

     Specific Information

     LVNV’s records reflect that you are a member of Class(es) __, described above.
     You will receive a refund of $             , a cash payment of $      , and/or
     a credit to your judgment balance in the amount of $                  .

     LVNV’s records reflect that your judgment balance after accounting for all payments
     and/or credits will be $      .

     Where can you get additional information?

     This notice is only a summary of the proposed settlement of this lawsuit. All pleadings
     and documents filed in Court, including the Class Action Settlement Agreement, may
     be reviewed or copied in the Clerk of Court, United States District Court for the
     Western District of Kentucky. Please do not call the Judge about this case. Neither
     the Judge, nor the Clerk of Court, will be able to give you advice about this case.
     Furthermore, LVNV’s attorneys cannot give you legal advice.


     Dated:                              , 2019.

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